Case: 7:20-cv-00075-REW-EBA Doc #: 56 Filed: 09/19/22 Page: 1 of 2 - Page ID#: 833



                           UNITED STATE DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                              PIKEVILLE DIVISION


       CASE NO. 7:20-CV-00075-REW-EBA



       PIKE COUNTY FISCAL COURT;
       PIKEVILLE, PIKE COUNTY INDUSTRIAL
       DEVELOPMENT AND ECONOMIC AUTHORITY                     PLAINTIFFS


       VS.                     DEFENDANTS’ RESPONSE ORDER ON
                               ISSUE OF UNJUST ENRICHMENT


       RCC BIG SHOALS, LLC
       WILLIAM B. JOHNSON
       DAVID L. FARMER                                        DEFENDANTS




                                   ******************


             The Court has asked for position statements from the

       parties on the issue of whether unjust enrichment has

       occurred.    Simply put, the doctrine creates “quasi

       contracts” when no actual contracts exist and has no

       application to situations in which an actual contract

       exists. Codell Const. Co v. Com. Ky App. 566 S.W. 2d 161,

       165 (1977); Guarantee Electric Co. v. Big Rivers Elec. Corp.

       669 F. Supp. 1371.      The relationship of the parties hereto

       was clearly a contractual one.

             Thus, any claim for unjust enrichment should be


                                           1
Case: 7:20-cv-00075-REW-EBA Doc #: 56 Filed: 09/19/22 Page: 2 of 2 - Page ID#: 834



       dismissed.




                                            LAWRENCE R. WEBSTER
                                            ATTORNEY AT LAW
                                            P. O. DRAWER 712
                                            PIKEVILLE, KENTUCKY 41502
                                            (606)437-4029

                            CERTIFICATE OF SERVICE

            This is to certify that on this 19th day of September
       2022, I electronically filed this Document through the ECF
       System and will send notice of electronic filing to the
       following counsel of record and in addition, a true and
       accurate copy of the foregoing document and the notice of
       electronic filing was mailed to the following counsl of
       record:

       Hon. Kevin P. Keene
       P. O. Box 3850
       Pikeville, Kentucky 41502

       Hon. Ray S. Jones II
       P. O. 3850
       Pikeville Kentucky 41502

                    This 19th day of September, 2022.


                                            /s/Lawrence R. Webster




                                           2
